The First National Corporation of Portland, a Corporation, Petitioner, et al., 1 v. Commissioner of Internal Revenue, RespondentFirst Nat'l Corp. v. CommissionerDocket Nos. 108224, 108305, 108367, 108306, 109642, 109643, 109644, 109645United States Tax Court2 T.C. 549; 1943 U.S. Tax Ct. LEXIS 85; August 12, 1943, Promulgated *85 Decision will be entered under Rule 50.  1. Petitioner and four banks, all of the stock of which it owned, were members of an affiliated group of corporations.  The F bank, also a member of this group, desired to acquire the four banks so that it might operate them as branches.  On April 2, 1933, petitioner gave the F bank proxies to vote the stock of the four banks and the F bank took over their assets and assumed their liabilities on the following day.  Thereafter negotiations were carried on with reference to the price to be paid.  They culminated in the execution of five contracts on April 18, 1933, under the terms of which petitioner was to receive cash and deferred payments measured by the earnings of the four banks operating as branches of the F bank during the years 1933 to 1937, inclusive, and recoveries of charged-off items.  For the year 1933, the net income (or loss) of petitioner, F bank, and each of the four banks was included in a consolidated income tax return filed by their parent corporation.  The aggregate of the amounts received by petitioner was less than the amount of its investment in the stock of the four banks.  Held:(a) The transfer by petitioner *86  in 1933 of all of its interest in the four banks to the F bank, a partially owned subsidiary and affiliate, was an intercompany transaction between members of an affiliated group during a consolidated return period, and no gain or loss can be recognized.(b) The capital loss sustained by petitioner is not deductible in the year 1937, and the deferred payments received by it in that year and in 1938 do not constitute taxable income.2. Partial bad debt deduction allowed under the facts stipulated.  George H. Koster, Esq., for the petitioners.Thomas M. Mather, Esq., for the respondent.  Mellott, Judge.  MELLOTT*550  The Commissioner determined deficiencies in tax against the First National Corporation of Portland (hereinafter referred to as petitioner) for the years 1937 and 1938 as follows:19371938Income tax$ 36,876.15$ 3,064.35Excess profits tax14,358.021,425.11He also determined that Transamerica Corporation, Occidental Life Insurance Co., and Western States Corporation are liable as transferees, the liability of Transamerica being limited, however, to an amount not in excess of $ 41,319.22.  These corporations admit that they are transferees. *87  The basic facts are stipulated and are found accordingly.  We set out in our findings only those necessary to an understanding of the questions to be decided.  One issue, involving a claimed deduction of $ 12,000 from 1938 income has been settled by stipulation.  It will be given effect in the recomputation under Rule 50.  Another issue may be disposed of summarily.  It involves a claimed deduction of $ 1,000 for attorney's fees.  Respondent concedes that the question is controlled by , and . It would serve no useful purpose to set out the stipulated facts on this issue.  On the authority of the cited cases it is decided in favor of petitioner.The principal issue arises from respondent's denial of a capital loss of $ 137,765.47 claimed by petitioner in its return for 1937, and his determination that petitioner was in receipt of income, in 1937 and 1938, in the aggregate amount of $ 25,049.54.  The genesis of the controversy was the acquisition, in 1933, by a partially owned subsidiary and affiliate of petitioner, of four small banks owned by it *88  and the ultimate liquidation of the four banks.  The contentions of the parties will be discussed under "Issue I", following the findings of fact.  Under "Issue II" petitioner's claim for a bad debt deduction of $ 11,250 or of some lesser amount in computing its net income for 1937 will be considered.FINDINGS OF FACT.Issue I.Petitioner, a Delaware corporation with offices in San Francisco, California although dissolved in August 1938, exists as a body corporate for the purpose of this proceeding.  Its income tax returns for 1937 and 1938 were filed with the collector of internal revenue for the first district of California.  Its books were kept and its returns were made on an accrual basis.At all times here material more than 95 percent of petitioner's issued and outstanding shares of voting stock (13,120 shares out of *551  13,333) were owned by the Transamerica Corporation (hereinafter sometimes referred to as Transamerica).  Transamerica also owned 6,528 shares and petitioner owned 9,257 shares of the 25,000 shares of outstanding stock of the First National Bank of Portland (hereinafter referred to as the First Bank).  Petitioner owned all of the stock of four Oregon*89  banks (hereinafter referred to as the four banks), the cost of which is shown in the following schedule:George W. Bates &amp; Co.$ 244,524.00Bank of East Portland204,921.24Livestock State Bank75,000.00Southeast Portland Bank75,000.00Total599,445.24Early in 1933 Oregon enacted legislation permitting branch banking effective April 3, 1933.  The First Bank wished to acquire the four banks and operate them as branches.  The law under which it was incorporated did not permit it to purchase stock of banks.  Some negotiations were carried on between the officers of petitioner and the officers of the First Bank as a result of which a plan was worked out under which the four banks could be acquired by First Bank.  To effectuate this plan petitioner on April 2, 1933, turned over to First Bank proxies to vote the stock of the four banks.  Thereafter each of the four banks adopted a resolution to dissolve and to turn over to First Bank its tangible assets in consideration of the assumption by First Bank of its deposit liabilities.  On the following day the Superintendent of Banks approved the acts contemplated by these resolutions.Delivery of possession of the business*90  and assets of each of the four banks was made April 3, 1933, on which date the First Bank commenced the operation of branches in the quarters previously used by the respective banks in the operation of their banking businesses.  The agreement as to price was determined later and was expressed in four written agreements dated April 18, 1933, between the First Bank and each of the four banks, and in an agreement of the same date between the First Bank and the petitioner.  On April 18, 1933, title to the business and assets of the four banks was delivered to the First Bank pursuant to the agreements.Under the written agreements of April 18, 1933, between the First Bank and each of the four banks, the First Bank agreed to assume their deposit and other liabilities and to pay the following amounts:Geo. W. Bates &amp; Co$ 115,123.62Bank of East Portland99,435.08Livestock State Bank75,000.00Southeast Portland Bank75,000.00Total364,558.70*552  The amounts above specified were stated to represent the difference in the aggregate amount of assets transferred under the contract over and above the aggregate amount of the liabilities assumed as set forth in schedules*91  attached to the contracts.  Said amounts were paid by the First Bank on April 18, 1933 directly to petitioner as the sole stockholder of the four banks pursuant to resolutions adopted by the board of directors of each of the four banks.The Oregon statutes require the expiration of one year from the date of the first publication of the notice to creditors on the voluntary liquidation of a bank before liquidating dividends may be paid to the stockholders. The banks circumvented this provision of the law by permitting all realizations on their assets to go directly to petitioner, their sole stockholder, and by the fact that the First Bank had assumed all liabilities.  However, to complete the formal liquidation of the four banks, thus avoiding the various obligations and expenses incident to continuing banking corporations, each of the four banks filed a certificate dated August 9, 1934, with the state banking department after the expiration of the one-year period.  These certificates stated that all of the deposit and other liabilities of the banks had been assumed by the First Bank, that no claims against it had been presented to the board of directors and that the banks had no liabilities, *92  deposit or otherwise, "of which the Board of Directors is advised or for which claims have been presented." The reports were approved by the state banking department on July 31, 1935, and the boards of directors were authorized to complete the liquidations of the banks and distribute the assets to the stockholders as provided by law.The agreement of April 18, 1933, between petitioner and the First Bank, contained, among others, the following provisions:The Corporation [petitioner] has invested in the capital stock of the aforesaid Bates Bank East Bank Livestock Bank and Southeast Bank the aggregate amount of Five Hundred Ninety-one Thousand Eight Hundred ninety-five and 23/100 ($ 591,895.23) Dollars, including amounts for which this Corporation did heretofore agree to purchase the shares held by the directors of the respective banks.  The amount of the investment of the Corporation is Two Hundred Thirty-six Thousand Eight Hundred Twenty-two and 53/100 ($ 236,822.53) Dollars in excess of the amount which will be realized as liquidating dividends on the stock of these banks, based upon the prices which the First Bank did agree to pay for their assets, and the parties hereto have mutually*93  agreed to make an equitable adjustment in the premises.It is the contention of the First Bank that under existing conditions the deposits of said banks which were transferred to the First Bank have not sufficient earning value to justify the payment of any sum therefor, and that the good will of the said banks has no salable value at the present time; nevertheless, the First Bank has agreed to pay to the Corporation as the purchase price of the good will, if any, the profit realized from the bond account and such net amount as the said banks would have earned for the period of time hereinafter stated [through the year 1937] had this transfer not been made * * *.*553  In this agreement the First Bank also agreed to pay over to petitioner the "net amounts which may be recovered as a result of the liquidation of any assets which were charged off from the books of said banks prior to April 1, 1933." Payments were to be made on or before the 1st day of March of each year, beginning with 1934 and ending with 1938.  Petitioner agreed to accept these amounts "* * * in full payment and satisfaction of the purchase price of the good will of the respective banks * * * and of the values, *94  if any, of the deposits transferred to the First Bank."Pursuant to the agreement referred to above, petitioner received the following amounts in the years 1933 to 1937.1933Recovery of charged-off items$ 662.21Profits on bond sales19,553.17Total20,215.381934Recovery of charged-off items1,836.88Profit on bond sales41,652.60Total43,489.481935Recovery on charged-off items2,506.33Profit on bond sales5,606.60Total8,112.931936Recovery of charged-off items253.741937Recovery of charged-off items420.57Branch profits *24,628.97Total25,049.54For the year 1933 the net income (or loss) of petitioner and of all the banks mentioned above was included in a consolidated income tax return filed by Transamerica as the parent corporation.  The returns of the four banks, the assets of which were sold to the First Bank, contain statements to the effect that they had gone "into voluntary liquidation," that their assets had been sold for cash, and that a liquidating dividend *95  had been paid to petitioner.Petitioner did not, for income purposes, claim or deduct a loss from the liquidation of the four banks in any year other than the year 1937.  In that year it determined its loss on the transaction to be $ 137,765.47 ($ 599,445.24-$ 461,679.77), and this amount was deducted as a capital loss in its return.  (If any loss is allowable, the amount thereof is now stipulated to be $ 121,472.)*554  In the notice of deficiency for 1937 (Docket No. 108224) it is stated that Transamerica, in and prior to 1933, "held effective stock control" of petitioner, the First Bank, and the four liquidating banks and that consolidated returns of income had been made, as set out above.  The Commissioner therefore held:* * * that any loss sustained on liquidation in 1933 of the four banking corporations was not an allowable deduction on the return of Transamerica * * * since it was an intercompany liquidation; that the instrument of April 18, 1933 made by * * * [petitioner and First Bank] was not an arm's length transaction between independent corporate entities; that no consideration was given therefor; that it had no ascertainable value when made and that the unrecovered*96  balance of costs of the four liquidated banks may not be substituted as the cost basis of * * * [petitioner's] rights; that consequently no loss is deductible by * * * [its] in the year 1937; and that receipts under the instrument constitute profit in full as realized.He therefore eliminated the claimed capital loss, included in gross income $ 25,049.54, the amount accrued on petitioner's books in 1937 which consisted of $ 420.57 actually received and $ 24,628.97 received on or about February 11, 1938, and determined the deficiencies for 1937.  Later he determined the deficiencies in tax for 1938, including in gross income the $ 24,628.97 received by petitioner on February 11, 1938.  He concedes, however, that the amount may not be twice included in gross income.In petitioner's income tax return for 1938, it reported a net income of $ 41,603.33 and a tax of $ 3,780.65.  This tax was paid on or about March 15, 1939, and within three years prior to the filing of the petition in this proceeding (January 10, 1942).  On July 24, 1941, petitioner filed with the collector of internal revenue at San Francisco a claim for refund of $ 1,980 of the tax paid for 1938.Issue II.In 1937*97  and for a number of years prior thereto, petitioner was the owner of $ 25,000 face value Insull Utilities Investments, Inc., 5 percent gold debenture series A, January 1, 1949, maturity, which it had acquired at a cost of $ 22,500.Insull Utilities Investments, Inc., went into bankruptcy in April 1932.  In October of that year petitioner received a letter from the debenture holders' protective committee, organized to protect the interests of debenture holders in the bankruptcy proceedings, advising that in 1929 and 1930 Insull Utilities Investments, Inc., had sold its series A and B debentures in the aggregate amount of $ 66,000,000, of which more than $ 57,000,000 was outstanding; that the committee was informed that during the time the debentures were sold the value of the assets of the corporation, which consisted principally of stock of various utility companies, ranged as high as $ 250,000,000; *555  that the corporation, in the debentures, had agreed with the purchasers it would not mortgage or pledge any of its property without equally securing the debentures with any other obligations assumed, excepting that it should be permitted to borrow money in the ususal course of*98  business for periods not exceeding one year, and to pledge property for other purposes; that substantially all of the corporation's assets had been delivered to various banks in New York and Chicago in 1930 and 1931 as security for loans aggregating approximately $ 45,000,000; that shortly after the receivers were appointed some of the New York banks advertised the securities held by them for sale; and that the committee had filed a petition against the New York and Chicago banks and others challenging the legality of the pledge of the corporation's collateral with the banks, praying an accounting and asking for the return of the collateral improperly pledged.  Petitioner deposited its bonds with the committee in October 1932.Under date of December 14, 1934, petitioner wrote a letter to the committee, inquiring as to the worthlessness of the debentures. In reply the committee sent it a copy of a ruling of the Securities Section of the office of the Commissioner of Internal Revenue dated January 8, 1935, stating that the holders of series A and B debentures could deduct as a partial bad debt in 1932, 1933, or 1934, 50 percent of their investment in the debentures. In its income *99  tax return for 1934, petitioner deducted $ 11,250, or 50 percent of the cost of the debentures owned by it.In its income tax return for the year 1934, petitioner reported a net loss of $ 6,109.16 and consequently no income tax liability.  This return was examined and accepted by the Bureau of Internal Revenue without adjustment.Under date of February 20, 1936, petitioner again inquired of the debenture holders' protective committee regarding the possible recovery on the bonds owned by it and explained that the information was desired in order to determine whether an additional income tax deduction could be taken in its return for that year.  The committee replied under date of February 22, 1936, advising petitioner that the trial of the five cases brought by the debenture holders in the District Court of the United States for the Southern District of New York had resulted in a decree unfavorable to the debenture holders (, decided July 8, 1935); that an appeal had been taken to the United States Circuit Court of Appeals for the Second Circuit; and that it would be some months before a decision*100  could be expected.  The committee's conclusion was: "we can give you no opinion as to the value of the debentures deposited by you, nor can we hazard the answer to any *556  questions you may have for purpose of use with the Internal Revenue Department * * *."On June 16, 1936, petitioner wrote to the Commissioner of Internal Revenue, calling attention to the conclusion of the attorneys for the debenture holders' protective committee and requesting a ruling as to the status of the remaining 50 percent of its investment in the debentures. On June 25, 1936, the Commissioner replied by letter, stating that the question of worthlessness of the bonds was under consideration and that petitioner would "be further advised when a decision has been reached." On September 16, 1936, petitioner again wrote to the Commissioner, calling his attention to the previous correspondence and inquiring whether a decision had been reached.  On October 13, 1936, the Commissioner acknowledged receipt of petitioner's letter of September 16, advised that the matter would be given careful consideration, and stated that petitioner would be "further advised relative thereto at the earliest practicable date." *101  In the latter part of January 1937, petitioner's attorney conferred with representatives of the Bureau of Internal Revenue in Washington concerning the deductibility of its remaining investment in the bonds.  He assumed that an agreement had been reached to the effect that petitioner's remaining investment in the bonds might be deducted as a bad debt in 1937.  As a result of the conference no formal reply to petitioner's letter of September 16, 1936, was ever transmitted to it.  Upon the return of petitioner's attorney to San Francisco in the early part of February 1937, he reported the result of his conference to petitioner's executive officers, who thereupon and in reliance on the report, ascertained the bonds to be entirely worthless and charged off the remaining 50 percent of its investment in them.  The amount of the charge-off, $ 11,250, was deducted as a bad debt on petitioner's income tax return for 1937.  This deduction was disallowed by the respondent.The Insull Utilities Investment, Inc., 5 percent gold debenture series A January 1, 1949, bonds were quoted on the "over-the-counter" market in Chicago, and the high and low quotations for each of the years 1934 to 1938, inclusive, *102  per $ 100 of face value, were as follows:YearHighLow19347/81/419351 1/21&nbsp;&nbsp;&nbsp;&nbsp;19368 1/81&nbsp;&nbsp;&nbsp;&nbsp;19379&nbsp;&nbsp;&nbsp;&nbsp;3&nbsp;&nbsp;&nbsp;&nbsp;19387 1/83 3/4On its income tax return for 1936 petitioner reported a net taxable income of $ 50,534.04 and a tax liability of $ 1,931.75.*557  OPINION.Issue I.Petitioner contends that the transaction involving the liquidation of the four banks was not closed and completed until December 31, 1937; that not until then could it determine how much it would receive upon its investment in the stock of the four banks; that therefore it could not earlier determine whether it would sustain a loss or the amount thereof; and that its loss, measured by the difference between the aggregate of its investment in the stock and the aggregate of its recovery, was actually sustained in the year 1937.  It also contends that the $ 25,049.54 was a return of capital and hence could not be income either in the year 1937 or in the year 1938.  The portion of the notice of deficiency set out above is a fair synopsis of respondent's contentions.Briefly reviewing the facts, petitioner for several years prior to 1933 owned all of the stock of four small banks. *103  It also owned a substantial part of the stock of the First Bank and it and its parent collectively owned the majority of the First Bank's stock. All of the banks in the country had been closed during the banking holiday and were about to reopen.  Oregon had enacted legislation permitting branch banking and the chief competitor of this particular group of banks in Portland announced that it would branch all of its banks upon reopening.  The First Bank desired to acquire the four banks for the purpose of operating them as branches.  Petitioner and its parent were willing to have it do so.  Accordingly petitioner, as the sole stockholder of the four banks on April 2, 1933. entered into an oral agreement with the officers of the First Bank under which the properties of the four banks were turned over to it and the businesses were opened by the First Bank on April 3, 1933, as branches.After the transfer of the four banks to First Bank petitioner's officers and the officers of First Bank carried on certain negotiations with reference to the price to be paid.  These negotiations culminated in the execution of five contracts on April 18, 1933, all of which were executed contemporaneously. *104  A separate contract was executed by each of the four banks under which it transferred title to all of its assets to the First Bank in consideration of the payment in cash of an amount equal to the fair market value of the assets transferred. The aggregate amount paid under these four contracts was $ 364,558.70.  This amount was less than petitioner's investment in the four banks.  The First Bank and petitioner therefore entered into another contract, hereinafter sometimes referred to as the fifth contract, under which the First Bank agreed to pay additional amounts to it, which *558  could not, however, exceed the difference between the cash already received and petitioner's investment in the four banks.  The payments specified were to be based upon the profits realized each year by the First Bank from the operation of the properties as branches until December 31, 1937, and were also to include all recoveries prior to December 31, 1935, upon assets charged off upon the books of the four banks.Under the fifth contract petitioner received the sum of $ 20,215.38 in 1933.  The aggregate amount received by it during 1933 was therefore $ 384,774.08.  In the years 1934 to 1938, inclusive, *105  additional amounts aggregating $ 76,905.69 were received.  The last payment, in the amount of $ 24,628.97, represented the branch profits derived during the period specified in the contract.  It was actually paid over to petitioner in February 1938; but a reasonably close approximation of the amount to be received had been made by petitioner in 1937 and accrued by it upon its books.After April 18, 1933, the four banks had no assets and in 1935 they were all formally dissolved.  In the returns of the four banks for 1933, included as a part of the consolidated income tax return of Transamerica and its subsidiaries, it was stated that the four banks had gone into voluntary liquidation, had sold all of their assets for cash, and that the liquidating dividends had been paid to petitioner.Transamerica filed consolidated income tax returns for the years 1931 to 1933, inclusive, and the incomes of petitioner, the First Bank, and the four banks were included therein.  None of the amount received by petitioner under the five contracts was included in gross income for 1933 and no deduction was claimed by it for any loss on the liquidation of the four banks.  The amounts received in the later*106  years were shown in the returns as nontaxable and, with the exception of the $ 25,049.54 received in 1937 and 1938 and presently in issue, no adjustment was made by respondent.In its income tax return for 1937 petitioner claimed a capital loss of $ 137,765.47, this amount being the difference between its investment in the stock of the four banks and the aggregate amount received.  The claimed deduction was disallowed.  If any capital loss may be allowed the amount is now stipulated to be $ 121,472.  The Commissioner included in gross income the amounts received (or accrued) under the fifth contract during the taxable years, aggregating $ 25,049.54.We agree with the respondent that any loss sustained on liquidation in 1933 of the four banking corporations was not an allowable deduction on the consolidated return of Transamerica and its affiliates for that year, if a liquidation were then actually made; for any such liquidation would clearly have been an intercompany transaction.  1*559  Petitioner's contentions will be discussed in more detail later.  It suffices to state at this juncture that petitioner contends the liquidation of the four banks was not completed until 1937. *107  Whether the fifth contract resulted from an arm's length transaction between independent corporate entities does not seem to be particularly important and is not discussed by the respondent at any length upon brief.  The evidence indicates, however, that the officers of petitioner were conscious of their responsibility to its preferred stockholders and the record is devoid of any indication that they were guilty of any act approximating bad faith toward them.The other contentions of the respondent elaborated upon in his brief, are that the liquidation was completed in 1933 when petitioner received cash*108  and a contract under which additional payments were to be made; that the contract was either wholly without consideration or was given only for the good will of the four banks, which is not shown to have had any basis in their, or petitioner's hands; and that the payments made under it "constitute profit in full as realized."The form in which petitioner and the First Bank chose to clothe the transaction invites this argument.  Nevertheless we think the contention is unsound.  Looking realistically at what was done and the object sought to be accomplished, the conclusion seems to be inescapable that petitioner and its partially owned subsidiary and affiliate merely entered into an agreement, oral at first but later reduced to writing the substance of which was that petitioner should transfer to First Bank all of its right, title, claim, and interest in the four banks in exchange for cash and an agreement to make "an equitable adjustment" through the payment of additional amounts if, fortuitously, future events should make any available for that purpose.The view expressed above is borne out by the testimony of the officers of the contracting parties, by the various corporate resolutions, *109  and by the contracts, especially the fifth one.  Thus the vice president of the acquiring corporation stated that he had commenced negotiations with petitioner's officers looking toward the acquisition of the four banks early in March of 1933.  Apparently all of the officers knew that the purchase of the stock of the four banks was not permitted under the law.  They therefore, on behalf of the respective corporations, entered into an oral agreement under which petitioner "furnished * * * [First Bank] proxies to vote the stock of [the four banks] to put them into liquidation and to sell *560  the assets to * * * [First Bank] on a basis of loans and discounts at face, plus accrued, and bonds at market, plus accrued, bank premises at book value, cash at book value, and other assets at book." 2 "After considerable negotiations" the terms of the fifth contract were agreed upon and all five of the contracts were then executed.  This contract, according to the testimony of the witness, "was a part of the entire transaction in connection with the acquisition of those four banks" -- "the result of our oral agreement that we would enter into some arrangement." When asked during cross-examination*110  whether the sale was not actually made on April 18, 1933, he was quite positive in stating that it "was consummated prior to April 3rd.  I will tell you that." His theory was -- "under this old agreement that I mentioned we bought the tangible assets directly from the banks and ordered the banks * * * to open." The testimony of petitioner's vice president, who signed the contract in its behalf, was to substantially the same effect.  He stated: "We wanted to get all that we could from these stocks in fairness to the stockholders." "We were naturally concerned as to getting prices from these assets which would return to the preferred stockholders particularly all of their investment, if possible." The signing of the five contracts was "a simultaneous operation" -- "more or less of a simultaneous proposition" and the witness could not tell which was signed first and which was signed last.The corporate*111  resolutions of the four banks show that at the special meetings of the stockholders held in the directors' room of the First Bank on April 2, 1933, the president of the First Bank voted 475 of the 500 shares of outstanding stock of each bank.  Each resolution authorized the transfer of the deposit liabilities of the bank and its good will to First Bank in consideration of the assumption of its liabilities.  At least two of the banks were paid substantial amounts for their good will.  In spite of this fact, however, when the fifth contract was prepared the recited consideration given for the making of the payments under it was "the good will, if any" of the four banks.The treatment by the contracting parties of the payments under the contract supports the view that there was but one transaction.  Without going into the bookkeeping details, most of which are shown in the stipulation, the payments were not treated as income by either of them.  The First Bank treated them as amounts held for the benefit of petitioner.  Petitioner, though showing the receipt of the amounts in its returns, treated them as nontaxable income, with the explanation: "Recoveries on losses not claimed on 1933*112  return." *561  Whether this is tantamount to an admission that such loss as occurred was actually sustained in 1933 need not be decided.As stated above, we are of the opinion that there was but one transaction, the substance of which was a sale of all of petitioner's interest in the four banks.  Since this occurred between members of an affiliated group of corporations during a consolidated return period, it was an intercompany transaction in which no gain or loss can be recognized.  3 The form selected by the parties is immaterial.  If all of the payments which the First Bank was required to make had been received by petitioner during 1933 -- if e.g. the fifth contract had merely provided for the payment to petitioner of the recoveries upon charged-off assets and branch profits realized in 1933 -- it could not seriously be contended that gain or loss should be recognized.  The tax consequence is not changed simply because of the fact that a small portion (approximately 17 percent) of the payments were made during the years 1934 to 1938, inclusive. The deferred payments were an integral part of the transaction under which petitioner permitted its partially owned subsidiary *113  and affiliate to acquire its wholly owned subsidiaries.  The purpose of the payments was to minimize petitioner's loss on that transaction and not on one which took place between members of the affiliated group in 1937 or 1938 when consolidated returns were not required or filed.From what has been said it is apparent we do not wholly agree with the views of either party.  Inasmuch as the claimed capital loss resulted from an intercompany transaction between members of an affiliated group during 1933, it can not be allowed*114  as a deduction in 1937.  By a parity of reasoning the deferred payments did not constitute taxable income when received.  We therefore hold that, while respondent committed no error in denying any capital loss deduction in 1937, he did err in including the payments received in 1937 and 1938 in petitioner's gross income for those years.  Whether all or only part of these payments was accruable in 1937 becomes moot.At the risk of unnecessarily extending this opinion, brief reference will be made to the case upon which petitioner places its chief reliance, ; certiorari denied, . Under subdivision 3 and 4 of the court's opinion it discussed the taxpayer's claim for a deductible loss equivalent to the difference between the cost of some stock and the sum of (1) the amount received as a cash dividend in partial liquidation *562  of the company and (2) the maximum amount which the taxpayer estimated at the end of the taxable year he would ultimately receive.  The court applied the rationale of such cases as ;*115 , and kindred cases, though none of them was cited.  It held that where a partial liquidating dividend had been received and it appeared to be reasonably certain that the stockholders would receive a further liquidating dividend, "a loss may not be allowed * * * until there is a distribution of such dividend in property or money." Cf. ; affd., , and . Petitioner contends that that is what occurred here.  Respondent urges that the cited case supports his view that the loss was sustained when there was a final distribution in liquidation, which, he insists, occurred in 1933 when petitioner received "cash and a contract."The Dresser case is sound; but in our judgment it is not applicable under the facts presently before us.  The liquidation of the four banks was incidental to the real transaction; and we are not particularly concerned with when it occurred.  Our question is whether the transaction between the affiliates -- the acquisition*116  by the First Bank of the four banks -- occurred in 1933.  Since we are of the opinion that it did, no gain or loss may be recognized.  That being so, it makes no difference that the precise amount of the loss could not then be ascertained.  But if the time when the liquidation of the banks occurred is important, respondent seems to have the better of the argument; for there is no evidence indicating that the fifth contract was other than what it purports to be -- a sale of the "good will, if any" of the four banks.  It does not appear that the good will had any basis in petitioner's hands; so it would seem to follow that the amounts received would be includible in petitioner's gross income. This would be clearly inequitable; for the total amount received was substantially less than petitioner's investment in the four banks and no actual "gains, profit, and income" resulted.  The view which we have taken, however, makes it unnecessary to consider petitioner's argument on this phase of the controversy.Issue II.No testimony was offered on this issue and the evidentiary findings are based entirely upon the stipulation of the parties.  Respondent originally determined that the bonds*117  were worthless prior to the taxable year. Upon brief, however, he insists that they were not worthless at the end of the taxable year, pointing out that they were sold in 1938 for approximately 8 per centum of their face amount.  He relies upon the rationale of such cases as , and , which apply the well settled rule that there must be, not a mere subjective ascertainment and charge-off, but actual worthlessness, and urges that conclusion should be reached petitioner sustained a capital loss in 1938 when it disposed of its bonds for $ 1,875.The position taken by petitioner has also been somewhat vacillating.  In its original petition it alleged that the "bonds were entirely worthless in 1937." In an amended petition, filed with leave of court since the hearing, it is alleged in the alternative that the "bonds were at least partially worthless in 1937 and the Commissioner should have allowed a partial bad debt deduction in an amount of at least $ 9,168.55." The amount claimed is the difference between*118  the portion of the cost of the bonds not previously charged off and the aggregate ultimately paid upon them by the debtor.The stipulated facts suggest petitioner may have been more interested in getting a ruling from the Department as to the year in which the remainder of its investment in the bonds could be charged off than it was in actually making an "ascertainment" of their worthlessness. Nevertheless we are of the opinion that it acted in entire good faith and endeavored to ascertain whether any amount might reasonably be expected to be recoverable.  Petitioner does not contend that the understanding which its attorney assumed had been reached with representatives of the Department arose to the dignity of an agreement; so its effect may be passed.The right answer is somewhat elusive.  It is true, as respondent points out upon brief, that petitioner was a financial institution having ready access to financial services from which it could very easily have ascertained the market on the bonds; but market is "often highly unreliable" and, while sometimes accepted as a criterion of value, can not be accepted as proof of the amount which may ultimtely be recovered. ;*119  cf. , and cases cited; . It is also true that the amount ultimately paid upon the bonds might denote that petitioner was too pessimistic when it charged off all of its remaining investment in them.  Absolute certainty, however, is not required; and the possibility of a small recovery should not deprive petitioner of its deduction if it acted in good faith.  . The stipulated facts, as we have stated, indicate good faith upon petitioner's part; but the recovery of more than 8 per centum can hardly be said to be merely "nominal." Cf. . This seems to be an insurmountable obstacle to the allowance of the entire amount claimed.  What, then, should be done?*564  The alternative suggested by petitioner has much to recommend it.  Subsequent events confirm -- though we do not accept them as proof, cf.  -- that the bonds were actually worth*120  approximately 8 per centum of their face amount, or $ 2,000 at the end of the taxable year. They were transferred a few weeks later to an affiliated corporation for $ 1,875 and it ultimately collected the aggregate amount of $ 2,081.45.  The market quotations appear to have reflected substantially the same value.  We therefore conclude and find as a fact that the amount recoverable on the bonds at the end of the year 1937 was $ 2,081.45.  The difference between that amount and petitioner's remaining investment in them was, in our judgment, properly ascertained by it to be worthless and charged off.  We accordingly allow the deduction of $ 9,168.55 under section 23 (k) of the Revenue Act of 1936.While we are content to rest our conclusion upon the basis set out above, it may also be supported under the rationale of . The charge-off has been demonstrated by subsequent events to have been excessive.  Inasmuch as the year in which it was made (1937) is still open, appropriate adjustment should be made to the net income for that year.  This may require a corresponding adjustment to the income for 1938; but apparently it *121  will merely increase petitioner's capital loss for that year which is already in excess of the amount allowable under section 117 (d) of the Revenue Act of 1936.Decision will be entered under Rule 50.  Footnotes1. Proceedings of the following petitioners are consolidated herewith.  Transamerica Corporation, a corporation, (Transferee of The First National Corporation of Portland); Occidental Life Insurance Co., a corporation (Transferee of The First National Corporation of Portland); Western States Corporation, a corporation, (Transferee of The First National Corporation of Portland).↩*. This amount was not received by petitioner until February 18, 1938, but was accrued by it on its books and records for the year 1937.↩1. Art. 37.  [Regulations 78.] Dissolutions -- Recognition of Gain or Loss.(a) During Consolidated Return Period.Gain or loss shall not be recognized upon a distribution during a consolidated return period, by a member of an affiliated group to another member of such group, in cancellation or redemption of all or any portion of its stock; and any such distribution shall be considered an intercompany transaction.↩2. The transaction was thus summarized by the vice president of First Bank, who was also president of one of the four banks.↩3. Article 33 of Regulations 78 provides that gain or loss may be recognized from the sale of stock or bonds during a consolidated return period "except in the case of a disposition (by sale, dissolution or otherwise) during a consolidated return period to another member of the affiliated group (see articles 31 and 37)." Article 31 states that "* * * gain or loss will not be recognized upon transactions between members of the group (referred to in these regulations as 'intercompany transactions')."↩